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Sent: Thursday, November 30, 2000 7:00 PM

To: DL-All_Field_Force

Cc: DL-Sales_VPs_All; DL-Sales_Ops_All; Katen, Karen L; Chapman, Chris; Evans, George (Ny-
Legal); Johnson, Rady

Subject: NEURONTIN (GABAPENTIN)

MEMORANDUM

November 30, 2000

TO: U.S. PHARMACEUTICAL FIELD FORCE
FROM: Hank McCrorie

RE: Neurontin® (gabapentin)

cc: Karen Katen, Executive Vice President, PPG

As indicated by Karen Katen in her November 10th memorandum to PPG-US Marketing, Sales, and Medical senior
management (see Attachment), a number of decisions have been made relevant to the promotion and marketing of
Neurontin which appropriately respond to certain legal challenges we face. This memorandum is intended to further
communicate those decisions relevant to PPG-US sales personnel, so that appropriate action can be taken within Pfizer’s
US sales operations to ensure their effective implementation.

As with all Pfizer products, it is essential that all activities concerning the promotion and marketing of Neurontin are
consistent with all applicable legal requirements as well as existing Pfizer SOPs and practices. In addition to these
routine requirements, the decisions summarized below reflect additional measures that will be taken by PPG-US sales
operations in connection with Neurontin.

To reiterate an important point in Karen Katen’s memorandum, these items are in no way intended to reflect a judgement
or conclusion by Pfizer concerning any practice or procedure that may have been in place under the former Warner
Lambert Company. Rather it reflects our recently acquired understanding of the nature of the anti-epileptic market
generally, and in particular Neurontin. Accordingly, the items below are prudent measures that can be taken to ensure
that Pfizer avoids even the appearance of engaging in inappropriate sales and marketing activity for Neurontin.

US Sales Operations - Neurontin Issues

Neurontin detailing responsibility will be limited only to the US RON sales force (approximately 150 representatives).
RON representatives will call only on Neurologists for Neurontin.

Consistent with existing Pfizer practices, all detailing will be for epilepsy only, in accordance with the approved product
labeling. Only those promotional materials approved centrally in NY headquarters may be used.

All speakers programs or dinner programs must be limited to epilepsy in accordance with approved labeling.

Only RON representatives will have compensation weighting for Neurontin prescriptions. Credit will be given only for
prescriptions by neurologists and institutional accounts with epilepsy centers.

Government Account Managers (GAMs) will continue to support Neurontin as necessary and in coordination with RON
representatives. GAMs will have no compensation weighting for Neurontin prescriptions.

At this time, samples will be available only for RON representatives for distribution only to Neurologists and in
institutional accounts with epilepsy centers. Samples may not be transferred by RON representatives to satisfy any other
physician requests made to other Pfizer representatives.

Sales representatives may not participate in any Pfizer supported CME programs or other programs supported by Pfizer
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unrestricted educational grants that might be relevant to Neurontin, unless it is clear that such program is related to
epilepsy. Representatives will not assist in any publicity or in distribution of invitations or fliers for such programs, nor will
representatives attend such programs. Any requests received by representatives for unrestricted grants, CME funding,
speaker suggestions or otherwise should be forwarded to the US Marketing Team in NY where it can be addressed in
conjunction with the Central Grants Committee.

Any requests or inquiries concerning participation in or funding for clinical investigations or any other studies concerning
Neurontin must be forwarded to the US Medical Team in NY for review and consideration in conjunction with the Medical
Grants Committee. No such funding will be provided directly by sales representatives.

Peer reviewed journal articles or other information concerning Neurontin that might otherwise be suitable for
dissemination under the recent WLF court decision will not be made available to sales representatives for such
dissemination at this time.

Any physician requests for information concerning unapproved uses of Neurontin will be referred directly to Pfizer's
medical information department. Pfizer’s RMRS (formerly Medical Service Liaison) department will not be utilized in
direct response to such requests.

Please provide these guidelines to all members of your staffs. Your efforts and leadership to ensure effective
implementation of the above position are greatly appreciated. Should you have any questions or concerns, please
contact me directly.

MEMORANDUM

November 10, 2000

From: Karen Katen, Executive Vice President, PPG

To: Joe Feczko, Senior Vice President, Medical and Regulatory Operations
Pat Kelly, Senior Vice President, Worldwide Marketing

Hank McCrorie, Executive Senior Vice President, Sales

Re: Neurontin® (gabapentin)

In connection with completion of the merger earlier this year with the Warner Lambert Company, Pfizer now has
responsibility for Neurontin, an exciting product which brings with it unique challenges. As we near finalization of the
2001 Operating Plan, a number of decisions have been made relevant to the promotion and marketing of Neurontin
which | believe appropriately respond to these challenges. This memorandum is intended to broadly outline these
decisions. | am confident that, as with other matters we have faced, Pfizer will rise to the challenges that come with this
product and foster Neurontin’s success in a manner consistent with Pfizer's values and all legal and regulatory
requirements.

Background

Neurontin received FDA approval in 1994 for adjunctive use in the treatment of epilepsy. As with many anti-epileptic
drugs (AEDs), since its initial launch, Neurontin has come to be prescribed by physicians for a broad range of additional
indications, the most significant being neuropathic pain. Physicians have long evidenced a general acceptance of many
AEDs for uses in addition to neuropathic pain, including bipolar depression and other psychiatric disorders, migraine and
numerous other indications. Increased discussion of AED uses in many peer-reviewed journals over the last few years
further demonstrates the growing interest in this area. Accordingly, physician interest in Neurontin has been and
continues to be strong, accompanied by an increasing demand first from Warner Lambert and now from Pfizer for
relevant information.

In 1996, several years prior to the merger, a civil lawsuit was filed against Warner Lambert concerning allegations

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associated with the off-label promotion of Neurontin. This action is still pending. More recently, in late 1999, several
months prior to the merger, a criminal Grand Jury investigation was initiated by the Boston US Attorney’s office
concerning similar issues. This investigation is ongoing. Each of these matters involves very serious issues with
significant potential ramifications. While the allegations made in the civil lawsuit and the focus of the criminal
investigation arise from issues unrelated to Pfizer, now that the companies are merged, it falls to Pfizer to manage them
and to take any and all reasonable action necessary to bring them to a satisfactory resolution. | can assure you that the
Company has committed all necessary resources towards the achievement of this goal.

In the meantime, as with all Pfizer products, it is essential that all activities concerning the promotion and marketing of
Neurontin are consistent with all applicable legal requirements as well as existing Pfizer SOPs and practices. In addition
to these routine requirements, additional decisions have recently been made specific to the marketing and promotion of
Neurontin and are summarized below.

The items below are in no way intended to reflect a judgement or conclusion by Pfizer concerning any practice or
procedure that may have been in place under the former Warner Lambert Company. Rather it reflects our recently
acquired understanding of the nature of the anti-epileptic market generally, and in particular Neurontin. Accordingly, the
items below are prudent measures that can be taken to ensure that Pfizer avoids even the appearance of engaging in
inappropriate sales and marketing activity for Neurontin.

US Marketing Team

Analysis of numerous independent market analyst reports (e.g., Scott-Levin, IMS), indicates that continued or even
increased non-epilepsy uses of Neurontin and other AEDs is predictable. While this may occur independently, there will
be no marketing or promotional activities intended to drive such growth.

Pfizer will actively pursue FDA approval of a neuropathic pain indication for Neurontin. The US team will provide all
necessary support to the research and development program for this effort.

US Sales Force

Neurontin detailing responsibility will be limited only to the US RON sales force (approximately 150 representatives).
RON reps will call only on Neurologists and institution based epilepsy centers for Neurontin.

Consistent with existing Pfizer practices, all detailing will be for epilepsy only, in accordance with the approved product
labeling. Only those promotional materials approved centrally in NY headquarters will be used.

Sales representatives may not participate in any Pfizer supported CME programs or other programs supported by Pfizer
unrestricted educational grants that might be relevant to Neurontin, except for those programs clearly related only to
epilepsy. Any such participation must be strictly in accordance with ACCME guidelines and Pfizer practices.

US Medical

US medical team resources and activities will be coordinated to support Pfizer's pursuit of FDA approval of a neuropathic
pain indication for Neurontin.

The US medical team will provide support to the Medical Information department to ensure appropriate responses to all

Neurontin related medical inquiries. Pfizer's RMRS (formerly Medical Service Liaison) department will not be utilized in
direct response to such inquiries.

Please provide these guidelines to all members of your staffs. Your efforts and leadership to ensure effective
implementation of the above position are greatly appreciated.

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